21-22108-rdd      Doc 104     Filed 09/07/21 Entered 09/07/21 17:13:11              Main Document
                                           Pg 1 of 5
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September 7, 2021

BY ECF AND EMAIL

The Honorable Robert D. Drain
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140

Re:    In re 96 Wythe Acquisition LLC, Case No. 21-22108 (RDD)

         As the Court is aware, we represent Benefit Street Partners Realty Operating Partnership,
L.P. (“Benefit Street”). I write concerning the scheduling of the Motion to Quash Rule 2004
Subpoenas [ECF No. 90] (the “Motion to Quash”) filed by The Williamsburg Hotel BK LLC (the
“Hotel Manager”) and, in particular, the recent adjournment of the hearing originally scheduled
for this Friday, September 10, 2021, over Benefit Street’s objection.
        The Hotel Manager and Debtor’s conflicted controlling insiders are the same. This is a
blatant example of a dishonest fiduciary acting to the detriment of the Debtor’s estate and creditors.
The Hotel Manager – who manages the estate’s Hotel and collects its revenues – seeks an order
barring Benefit Street’s Rule 2004 discovery in its entirety. It does this, even though documents
produced by the PPP Loan bank indicate that the Hotel Manager made serial misrepresentations
to the bank, and diverted over $1 million in PPP Loan proceeds away from Hotel operations and
into an unidentified account that the principals of the Debtor and Hotel Manager refuse to disclose,
while allowing millions in real property taxes to go unpaid. In the process, it provided the bank
with tax returns in which the Hotel Manager appears to claim all of the Hotel’s revenues as its
own. Shockingly, in its reply brief, the Hotel Manager denies none of these facts. Instead, it
argues that if anyone was defrauded it was the PPP lender or the U.S. government – and thus estate
stakeholders have no standing to investigate it. This defense is preposterous. The Hotel Manager’s
apparent dishonesty, mismanagement, and potential self-dealing are directly relevant to the
operation of the estate. Not only do these acts give rise to claims by the estate, but such misconduct
warrants the appointment of an independent fiduciary. The discovery Benefit Street seeks – as
secured lender in this proceeding – is thus critical to the Debtor’s estate and should not be delayed
at the unsupported request of the Hotel Manager over the objection of Benefit Street.
       The Hotel Manager’s adjournment of the Motion to Quash until October should be vacated
and the matter heard on September 10, 2021, as originally scheduled.
21-22108-rdd             Doc 104      Filed 09/07/21 Entered 09/07/21 17:13:11       Main Document
                                                   Pg 2 of 5
September 7, 2021
Hon. Robert D. Drain


                                                Background
        The Court is familiar with Benefit Street’s efforts to take discovery concerning the PPP
Loan obtained by the Hotel Manager in April 2020 – which is controlled by the same insiders who
are the controlling fiduciaries of the Debtor. Initially, Benefit Street sought this information from
the Debtor, which produced a handful of documents, some of which were only partial, non-final
documents. At the hearing held on July 20, 2021, the Debtor claimed this production exhausted
the responsive materials in its possession. At the Court’s suggestion and with its authorization, on
August 2, 2021, Benefit Street therefore served Rule 2004 Subpoenas on the Hotel Manager and
on Live Oak Banking Company (“Live Oak Bank”), the bank that issued the PPP Loan.
        While the Hotel Manager has yet to produce a single piece of paper in response to Benefit
Street’s subpoenas, Live Oak Bank has produced documents and those documents are profoundly
troubling. Even more troubling, the Hotel Manager has now filed a response which does not
contest the facts these Live Oak Bank materials appear to demonstrate. See ECF No. 101.
          Among other things, Live Oak Bank’s documents show that:
          •     The Hotel Manager, through its principals – who are also the principals of the Debtor –
                had repeated written communications with Live Oak Bank, none of which the Debtor
                produced;
          •     The Hotel Manager inexplicably omitted the Debtor from a list of affiliates in two
                separate PPP loan applications even though the Debtor was the owner of the Hotel and
                the loan was based on the Hotel’s operations and staff. One of the Debtor’s principals,
                acting on behalf of the Hotel Manager, certified these representations were accurate
                and complete, a certification that appears to have been false;
          •     The bank did not discover the Hotel Manager’s misrepresentations immediately, but
                when it did, it denied the second loan application, confirming their materiality;
          •     In a last ditch effort to persuade the bank to issue the second PPP loan based on the
                Hotel’s operations, the Debtor’s principals, again acting on behalf of the Hotel
                Manager, submitted purported tax returns – signed by one of the principals but not the
                accountant that allegedly prepared them – in which the Hotel Manager claimed that it
                had earned revenues mirroring those the Debtor’s schedules stated that the Debtor
                earned in the same years ($20,034,954 in 2019 and $15,117,101 in 2018) – an apparent
                impossibility when the Hotel Manager’s fees were limited to 3% of revenues
                (or $601,048 and $453,513, respectively) and the Hotel was the only hotel it managed;
          •     The Hotel Manager diverted the PPP Loan proceeds from the Hotel’s operating
                accounts into an unidentified account, where at least $1,080,376 (or 75%) of them
                appear not to have been used to fund payroll or pay other expenses contemplated by
                the PPP Loan and the CARES Act; and



Kramer Levin Naftalis & Frankel LLP                                                                   2
21-22108-rdd             Doc 104      Filed 09/07/21 Entered 09/07/21 17:13:11     Main Document
                                                   Pg 3 of 5
September 7, 2021
Hon. Robert D. Drain


          •     The Hotel Manager obtained forgiveness of the PPP Loan based on Hotel bank
                statements showing that $1,589,802 of payroll expenses and utility payments were
                funded out of Hotel revenues rather than PPP proceeds, even though $1,080,376 of the
                PPP Loan proceeds may remain in unidentified accounts, available for use by the
                insiders, rather than the employees and other creditors of the Hotel.
       On their face, these documents directly implicate the integrity and fitness of the entity that
manages the Hotel and collects its revenues, as well as the principals that control both it and the
Debtor. Remarkably, at the same time the Hotel Manager seeks to delay the hearing on its own
production, it does not contest what the Live Oak Bank documents appear to show. Instead, in a
response filed Monday evening, the Hotel Manager argues only that, even if it defrauded Live Oak
Bank, that fraud does not provide the estate with any claim or other basis for Benefit Street to take
Rule 2004 discovery. Those assertions are facially wrong. Benefit Street now contests the recent
adjournment so that its Rule 2004 discovery of the Hotel Manager can continue in a timely fashion.
                              The Contested Adjournment of the Motion to Quash
       Benefit Street’s subpoenas sought documents concerning the PPP Loan and the Hotel
Manager’s staff and operations. (Benefit Street later served a 30(b)(6) deposition subpoena on the
Hotel Manager, as well). Consistent with the time period specified in the Order authorizing the
discovery [ECF No. 80], the subpoenas called for production by August 16, 2021.
        Counsel appeared for the Hotel Manager on August 9, a week after service, promising a
“comprehensive response” to the document requests. Just two days later, the Hotel Manager
requested an extension of time to respond to the subpoenas, which Benefit Street agreed to extend
for one week on the understanding the a “comprehensive” production was forthcoming. But on
August 22, 2021, the day before the extension of time would expire, having neither made a
“comprehensive response” to the subpoenas or even a good faith attempt to meet and confer – the
Hotel Manager filed a motion seeking to quash the subpoenas in toto. It argued that the discovery
was duplicative of the Debtor’s production and irrelevant, because the PPP Loan was made to a
non-debtor entity and, as such, did not implicate the estate – even though the loan was predicated
upon the Debtor Hotel’s operations. The Hotel Manager noticed the Motion to be heard this
Friday, September 10, 2021 – over a month after service of the subpoenas.
      Because of the Motion to Quash, no Rule 2004 discovery has proceeded against the Hotel
Manager.
        In the weeks after filing the Motion to Quash, the Hotel Manager did not contact Benefit
Street, which was preparing its objection to the Motion to Quash. Then, in the middle of the day
last Friday, the Hotel Manager’s counsel called Benefit Street repeatedly. Within an hour, it
contacted the Court’s staff, asking for almost a one-month adjournment of the hearing it had itself
noticed in its Motion to Quash. Benefit Street objected, but the Court’s staff appears to have
directed the Hotel Manager’s counsel to file a notice of adjournment until October 6.



Kramer Levin Naftalis & Frankel LLP                                                                 3
21-22108-rdd             Doc 104      Filed 09/07/21 Entered 09/07/21 17:13:11      Main Document
                                                   Pg 4 of 5
September 7, 2021
Hon. Robert D. Drain


                            No Adjournment of the Motion to Quash Is Warranted
        This adjournment, granted to the Hotel Manager without Benefit Street’s consent, is highly
prejudicial. As the Court knows, Benefit Street has actively pursued discovery concerning the PPP
Loan for several months. The pending subpoenas were served at the Court’s suggestion and with
its authorization. The Hotel Manager has not offered any justification for the adjournment of the
hearing. Not only has it already replied to Benefit Street’s objection, but it cannot claim prejudice.
Because the Hotel Manager is controlled by the very same people who control the Debtor, it has
been aware of the discovery since before the subpoenas were served. Nor did these same
individuals – in their capacity as “Hotel Manager” – make any effort to meet and confer with
Benefit Street before it filed its blanket Motion to Quash. In fact, their counsel waited until the
day Benefit Street’s objection to the motion was due (despite knowing that the matter was going
to be contested) before seeking an adjournment of the schedule.
         As importantly, the Hotel Manager’s “relevance” arguments are frivolous. The documents
Live Oak Bank produced indicated that the Hotel Manager’s principals – who are also the Debtor’s
principals – may have defrauded a bank. The same principals submitted tax returns in support of
their loan application that reflect the Hotel Manager claiming revenues that the Debtor’s Schedules
indicate were earned by the Debtor. Once the PPP Loan proceeds arrived, the Hotel Manager
diverted them from the Hotel’s master account to an unidentified account and appears to have used
around 25% of those proceeds to pay expenses of the type contemplated by the PPP and the
CARES Act. At the most basic level, this diversion suggests that the Hotel Manager did not use
all available resources to benefit the Hotel it managed. In addition, it appears to have misapplied
Hotel revenues (which were Benefit Street’s cash collateral) to pay payroll and utility expenses
that the federal government had provided already funded. Not only did these machinations deprive
the Debtor of over a million dollars in government assistance funds, leaving the Debtor with
insufficient funds to pay millions of dollars in real estate taxes (for which it is paying 18% annual
interest), but discovery is needed to see whether the Hotel Manager kept loan proceeds for itself
or its insiders. Other courts confronted with similar behavior have not been sympathetic. See In
re EHT US1, Inc., No. 21-10036 (CSS) (Bankr. D. Del.), May 26, 2021 Hearing Tr. at 49 (PPP
loan fraud “is beyond the pale. It was reprehensible. It was a violation of public trust. It's an abuse
of Congress' attempt to help businesses survive the pandemic, not to line the pockets of rich
people.”). Each of these facts suggests that the Debtor’s principals are unfit to act as fiduciaries
on behalf of this estate and that the estate may have claims against them or the Hotel Manager for
mismanagement or conversion, among other things. Regardless, the Hotel Manager’s suggestion
that these matters are not proper subjects for Rule 2004 discovery is not remotely credible.
        In contrast, Benefit Street is prejudiced by the extension. As shown in the Objection it
filed Friday evening – that facts of which are not disputed by the Hotel Manager – the discovery
Benefit Street seeks is directly relevant to the Debtor’s estate, addressing potential claims against
the controlling insiders, as well as self-dealing and other misconduct by estate fiduciaries. At the
same time, the Hotel Manager’s objections are flimsy, at best. By granting the requested
adjournment of a contested matter over Benefit Street’s objection, the Hotel Manager has been


Kramer Levin Naftalis & Frankel LLP                                                                   4
21-22108-rdd             Doc 104      Filed 09/07/21 Entered 09/07/21 17:13:11     Main Document
                                                   Pg 5 of 5
September 7, 2021
Hon. Robert D. Drain


permitted to award itself an additional 30-day reprieve from critical Rule 2004 discovery directly
impacting this case and relevant issues that should be timely addressed by the parties and the Court.
       For these reasons, the Court should direct that the Notice of Adjournment be revoked and
the hearing on the Motion to Quash proceed on the originally scheduled date of September 10,
2021.
Respectfully submitted,


/s/ P. Bradley O’Neill
P. Bradley O'Neill


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